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GERMAN DE PATRICIO, PhD                                *   IN THE
2803 Chesley Avenue
Baltimore, Maryland 21234                              *   UNITED STATES DISTRICT

Plaintiff,                                             *   COURT FOR THE

v.                                                     *   DISTRICT OF MARYLAND

TOWSON UNIVERSITY                                      *
8000 York Road
Towson, Maryland 21252                                 *

        Serve on:                                      *   CASE NO. _________________

        Brian E. Frosh, Esq., Attorney General         *
        Office of the Attorney General
        Civil Litigation Division                      *
        200 St. Paul Place
        Baltimore, Maryland 21202                      *

        and                                            *

        Kim Schatzel, President                        *
        Towson University
        8000 York Road                                 *
        Towson, Maryland 21252
                                                       *
Defendant.
                                                       *

        *        *     *      *      *       *         *   *    *     *      *      *

                                         COMPLAINT

        COMES NOW, Plaintiff, German De Patricio, by and through his attorney, Paul V.

Bennett, Esq., and Bennett Legal Services, Inc, and hereby sues Defendant Towson University

(hereinafter “Defendant”) and states as follows:




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                          JURISDICTION AND VENUE

1.      This Court has jurisdiction pursuant to Title VII of the Civil Rights Act of 1964, as

        amended, 42 U.S.C. § 2000e, et seq. (hereinafter “Title VII”), the Americans with

        Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“hereinafter “ADA”), and the

        Age Discrimination in Employment Act of 1967, 29 U.S.C. §§ 621 to 634

        (hereinafter “ADEA”).

2.      That all the actions complained of herein took place at Towson University, located

        at 8000 York Road, in Towson, Maryland (hereinafter referred to as “Towson

        University” or “campus”).

3.      That at all times relevant hereto, Defendant Towson University (“Defendant”) is a

        public institution of higher learning affiliated with the University of Maryland,

        employing five-hundred (500) or more persons, and is an “employer” within the

        meaning of Title VII, ADA, and ADEA.

4.      On August 4, 2021, Plaintiff timely contacted the Maryland Commission on Civil

        Rights (“MCCR”) alleging discrimination that occurred from August 15, 2019 to

        August 4, 2021, and submitted his Formal Complaint of Discrimination on

        September 2, 2021 alleging harassment, denial of reasonable accommodations,

        adverse effects on terms and conditions of employment and discipline based on his

        national origin (Spain), disability / medical condition , denial of reasonable

        accommodations and age (date of birth: September 6, 1968) as well as retaliation

        for engaging in prior EEO activity with the Defendant’s Human Resources

        Department, Grievance Committee and Office of Inclusion. MCCR cross filed the




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        charge with the U.S. Equal Employment Opportunity Commission (“EEOC”). On

        March 29, 2022 the EEOC issued a Notice of Right to Sue.

5.      In accordance with Title VII, ADA, and ADEA, Plaintiff properly exhausted his

        administrative remedies before timely filing suit.

                            FACTS COMMON TO ALL COUNTS

6.      Plaintiff’s date of birth is September 6, 1968 and disabilities are various medical

        conditions of which Defendant was notified. His approved reasonable

        accommodations included class scheduling no earlier than 12:00 pm. Defendant

        was aware at all times herein of Plaintiff’s age, disabilities and requested

        accommodations.

7.      From August 11, 2010 to 2016, Plaintiff has worked as an Assistant Professor of

        Spanish and from 2016 to present is an Associate Professor for the Defendant.

8.      Plaintiff earns $70,000.00 in salary annually.

9.      At all relevant times mentioned herein, Margherita Pampinella (hereinafter “Dr.

        Pampinella”), Department Chair, employed by Defendant served as Plaintiff’s

        supervisor.

10.     Before Dr. Pampinella became Chair in the summer of 2019, Plaintiff’s former

        supervisor, Lea Ramsdell, warned Plaintiff that he needed to get an official health

        accommodation from Human Resources as she heard Dr. Pampinella state that she

        was not going to respect Plaintiff’s health situation.

11.     As a result, Plaintiff promptly followed this advice and obtained his medical

        accommodations before the fall of 2019, which was updated through May 17, 2021.




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12.   The Defendant was aware of Plaintiff’s disabilities and need for medical

      accommodation since June 10, 2019. However, from August 15, 2019 to present,

      Dr. Pampinella has continually demonstrated hostility and opposition to Plaintiff’s

      reasonable accommodations and sought out ways to set his schedule in direct

      violation of said accommodations by directing Plaintiff to set classes prior to 12:00

      pm on his schedule.

13.   Since June 10, 2019 Dr. Pampinella has also subjected Plaintiff to unwarranted

      discipline, undue criticism in public, and harassment with an eye to compel Plaintiff

      to resign his employment position. In particular, Plaintiff was falsely accused of

      using unauthorized classroom material in June of 2021.

14.   In the spring of 2020, Dr. Pampinella issued a meritless letter of warning and censure

      to thwart Plaintiff’s promotional opportunities.

15.   On March 22, 2021, Plaintiff had a meeting via Zoom with the Defendant’s Office

      of Inclusion in which he complained about Dr. Pimpinella’s discriminatory conduct

      and was informed there was nothing they could do.

16.   In the spring of 2021, Plaintiff attempted to amend his reasonable medical

      accommodations for which Dr. Pimpinella adamantly and mirthlessly opposed.

17.   In December 2021, in accordance with Defendant’s policies and procedures,

      Plaintiff complained to the Grievance Committee about Dr. Pampinella’s

      discriminatory and retaliatory efforts to bully Plaintiff during departmental meetings

      that occurred from September through December 2021.

18.   On several occasions since taking over as department chair, Dr. Pampinella has told

      Plaintiff that he should walk into Defendant’s Human Resources Office and resign.



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19.   In February 2022, a frivolous investigation of Plaintiff conduct was undertaken at

      the behest of Dr. Pampinella.

20.   In March of 2022, in an act of retaliation and to further her discrimination against

      Plaintiff, Dr. Pampinella issued a frivolous letter of censure dated March 18, 2022

      designed in a fashion as to justify denial of future promotions and a denial of

      Plaintiff’s ability to seek due process against such allegations.

21.   In response to the February 2022 investigation, Plaintiff sought a formal grievance

      with Dr. Evangeline A. Wheeler, Chair, on behalf of the Committee Chair, Faculty

      Grievance and Mediation Committee, on April 16, 2022 which set forth his

      allegations concerning Dr. Pampinella’s threats and actions taken with an eye to

      suspend and/or terminate Plaintiff’s employment. These actions set forth in the

      grievance included, but were not limited to, Dr. Pampinella’s refusal to cooperate

      with the Defendant’s Human Resource’s department to honor Plaintiff’s reasonable

      medical accommodations, her second letter of warning and censure to block Dr. De

      Patricio’s promotion, and her hostile and berating treatment of Plaintiff.

22.   To date, the Defendant has failed to act to address Plaintiff’s concerns, and the

      hostility he has experienced continues unabated.

23.   At all times relevant herein, Plaintiff met and/or exceeded Defendant’s legitimate

      job expectations.




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                                    COUNT I
                                RETALIATION
                  (Adverse Actions and Disparate Treatment)
                    Title VII of the Civil Rights Act of 1964
                            42 U.S.C. § 2000e, et seq.

24.    Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

       as though fully set forth herein.

25.    The subsequent adverse employment actions, as set forth in the above-referenced

       facts common to all counts, amounted to illegal retaliation based upon the frequency

       of retaliatory conduct, temporal proximity to continuous protected activities and

       retaliatory animus of Dr. Pampinella.

26.    That the aforementioned acts of retaliation for complaining of discrimination

       constitute unlawful employment practices pursuant to Title VII of the Civil

       Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq.

27.    The aforementioned legally protected activities were known by upper management

       to have occurred.

28.    That the effect of the practices complained of above was to deprive Plaintiff of

       equal employment opportunities and otherwise adversely affect his status as an

       employee based upon his legally protected activities.

29.    That the intentional retaliatory actions complained of above were done with

       malice and/or with reckless indifference to Plaintiffs rights.

30.    As a direct and proximate result of the Defendant's retaliatory actions, Plaintiff

       has suffered lost wages and benefits, emotional distress, incurred attorney's fees

       and litigation costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

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                                COUNT II
                    DISABILITY DISCRIMINATION
                  (Disparate Treatment and Interference)
             Americans with Disabilities Act of 1990, as amended
                         42 U.S.C. § 12101, et seq.

31.   Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

      as though fully set forth herein.

32.   The ADA prohibits discrimination against qualified individuals on the basis of

      disability with respect to the interference and adherence to approved reasonable

      medical accommodations.

33.   Defendant is an “employer” within the meaning of the ADA.

34.   At all times relevant herein, Plaintiff has suffered, and continues to suffer, from a

      physical disability which substantially limits his ability to function normally in the

      mornings as well has his special dietary requirements as relating to ongoing

      digestion issues during this period and thus affects a “major life activity” under the

      ADA.

35.   On several occasions, set forth above, Dr. Pampinella manipulated Plaintiff’s

      schedule so as to knowingly require Plaintiff to teach classes prior to 12:00 pm, and

      did so in direct violation of the above-referenced approved medical

      accommodations.

36.   Since June 10, 2019 Dr. Pampinella also subjected Plaintiff to unwarranted

      discipline, undue criticism in public, and harassment with an eye to compel Plaintiff

      to resign his employment position. In particular, Plaintiff was falsely accused of

      using unauthorized classroom materials in June of 2021 by Dr. Paminella, on the

      heels of Plaintiff’s updated medical accommodation of May 17, 2021.


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37.   Plaintiff received an email in April, 2021 from Defendant’s Human Resources

      department representative Nate Barker, informing him that despite their diplomatic

      efforts to work with Dr. Pampinella about Plaintiff’s medical accommodations,

      Human Resoures was forced to consult Defendant’s counsel and advise Dr.

      Pampinella that legal action may be taken against her if she continued not to adhere

      to Plaintiff’s ADA rights.

38.   In the spring of 2021, Plaintiff attempted to amend his reasonable medical

      accommodations for which Dr. Pimpinella adamantly, continuously and mirthlessly

      opposed.

39.   Similarly situated non-disabled Associate Professors, all Associate Professors in

      Plaintiff’s Department, including but not limited to, Diego del Pozo, Paco Martinez,

      and Leticia Romo, were treated more favorably in regards to flexibility of their

      schedules, were not subjected to frivolous investigations resulting in meritless letters

      of warning designed to justify denials of future promotions and did not receive

      censorship of their classroom material as Plaintiff was subjected to by Dr.

      Pampinella.

40.   That the effect of the practices complained of above was to deprive Plaintiff of equal

      employment opportunities and otherwise adversely affect and interfere with his

      status as an employee because of his disabilities.

41.   That the unlawful employment practices complained of above were intentional.

42.   That the discriminatory interference, as set forth above, has caused and will continue

      to cause Plaintiff to suffer lost earnings and earning capacity, severe emotional

      distress, humiliation, and mental anguish.


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      43.    That the intentional discriminatory actions of Defendant, as alleged above, were

             done with malice and/or with reckless indifference to Plaintiff’s rights.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

                                       COUNT III
                                    RETALIATION
                         (Disparate Treatment and Interference)
                    Americans with Disabilities Act of 1990, as amended
                                42 U.S.C. § 12101, et seq.

      44.    Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

             as though fully set forth herein.

      45.    Since June 10, 2019, Dr. Pampinella subjected Plaintiff to unwarranted discipline,

             undue criticism in public, and harassment with an eye to compel Plaintiff to resign

             his employment position. In particular, Plaintiff was falsely accused of using

             unauthorized classroom materials in June of 2021 by Dr. Paminella,

      46.    From February 2021 to June 2021, Plaintiff was in communication every other week

             with Defendant’s Human Resources Representative Nate Barker regarding his

             medical accommodation and Dr. Paminella’s discriminatory and retaliatory conduct

             as discussed herein.

      47.    In particular, Plaintiff received an email in April, 2021 from Defendant’s Human

             Resources department representative Nate Barker, informing him that despite their

             efforts to work with Dr. Pampinella about Plaintiff’s medical accommodations,

             Human Resoures was forced to consult Defendant’s counsel and advise Dr.

             Pampinella that legal action may be taken against her if she continued not to adhere

             to Plaintiff’s ADA rights.




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48.   In the spring of 2021, Plaintiff attempted to amend his reasonable medical

      accommodations for which Dr. Pimpinella adamantly and meritlessly opposed.

49.   As set forth in the facts common to all counts in the above-referenced Complaint, a

      pattern of retaliatory conduct was undertaken by Dr. Pampinella immediately

      following his participating in protected ADA accommodations requests and

      complaining to Defendant’s Human Resources about Dr. Pampinella.

50.   Similarly situated non-disabled Associate Professors were treated more favorably in

      regards to flexibility of their schedules, all Associate Professors in Plaintiff’s

      Department, including but not limited to, Diego del Pozo, Paco Martinez, and Leticia

      Romo, did not have their promotional opportunities sabotaged with frivolous

      allegations and did not receive censorship of their classroom material as Plaintiff

      was subjected to by Dr. Pampinella.

51.   The subsequent adverse employment actions, as set forth in the above-referenced

      facts common to all counts as well as Count III, amounted to illegal retaliation.

52.   That the aforementioned acts of retaliation for engaging in protected ADA activities

      and for complaining of interference with approved medical disability

      accommodations constitute unlawful employment practices pursuant to ADA.

53.   The aforementioned legally protected activities were known by upper management

      to have occurred.

54.   That the effect of the practices complained of above was to deprive Plaintiff of equal

      employment opportunities and otherwise adversely affect his status as an employee

      based upon his legally protected activities.



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      55.    That the intentional retaliatory actions complained of above were done with malice

             and/or with reckless indifference to Plaintiffs rights.

      56.    As a direct and proximate result of the Defendant's retaliatory actions, Plaintiff has

             suffered lost wages and benefits, emotional distress, attorney's fees and litigation

             costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

                                             COUNT IV
                                      AGE DISCRIMINATION
                                        (Disparate Treatment)
                      Age Discrimination in Employment Act of 1967, as amended,
                                        29 U.S.C. § 621, et seq.

      57.    Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

             as though fully set forth herein.

      58.    Plaintiff was highly qualified for the position of Associate Professor of Spanish for

             which he served under the employ by the Defendant.

      59.    Plaintiff was subjected to adverse treatment, including without limitation, the above-

             referenced disparate treatment, adverse job actions, and interference with medical

             accommodations as set forth in the Facts Common to all Facts and Counts I through

             IV of this Complaint.

      60.    Plaintiff’s age was the “but-for factor” behind the described adverse treatment.

      61.    Similarly situated Associate Professors under the age of 40 or substantially younger

             than the Plaintiff, including but not limited to, Diego del Pozo and Paco Martinez,

             were treated more favorably than him as they were not subjected to the above-

             referenced adverse job actions and disparate treatment.




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      62.    That the intentional discriminatory action complained of above was done with

             malice and/or with reckless indifference to Plaintiff’s rights.

      63.    As a direct and proximate result of the Defendant’s discriminatory actions, Plaintiff

             has suffered lost wages and emotional distress, and incurred attorneys’ fees and

             litigation costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

                                             COUNT V
                                          RETALIATION
                                       (Disparate Treatment)
                     Age Discrimination in Employment Act of 1967, as amended,
                                       29 U.S.C. § 621, et seq.

      64.    Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

             as though fully set forth herein.

      65.    Plaintiff expressly incorporates herein the adverse actions and disparate

             treatment that occurred after August 15, 2019 to present as set forth in the facts

             common to all counts.

      66.    Similarly situated Associate Professors who did NOT engage in protected Age

             Discrimination protected activities, encompassing all Associate Professors in

             Plaintiff’s Department, including but not limited to, Diego del Pozo, Paco

             Martinez, and Leticia Romo, were treated more favorably in regards to flexibility

             of their schedules, were not subjected to frivolous investigations resulting in

             meritless letters of warning designed to justify denials of future promotions, did

             not receive censorship of their classroom material, nor had other protected equal

             employment opportunities denied as Plaintiff was subjected to by Dr.

             Pampinella.


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      67.    The subsequent adverse employment actions, as set forth in the above-referenced

             facts common to all counts, amounted to illegal retaliation insofar as the frequency

             of retaliatory conduct, temporal proximity to continuous protected activities and

             retaliatory animus that is clear to Plaintiff, Defendant’s Human Resources, and set

             forth in written communications by the Defendant to the Plaintiff.

      68.     That the aforementioned acts of retaliation for complaining of age discrimination

             constitute unlawful employment practices pursuant to AEDA.

      69.    The aforementioned legally protected activities were known by upper management

             to have occurred.

      70.    That the effect of the practices complained of above was to deprive Plaintiff of equal

             employment opportunities and otherwise adversely affect his status as an employee

             based upon his legally protected activities.

      71.    That the intentional retaliatory actions complained of above were done with malice

             and/or with reckless indifference to Plaintiffs rights.

      72.    As a direct and proximate result of the Defendant’s retaliatory actions, Plaintiff has

             suffered lost wages and benefits, emotional distress, attorney’s fees and litigation

             costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

                                      COUNT VI
               TITLE 20 OF THE STATE GOVERNMENT ARTICLE
 (Discrimination based on Age, Disability& Interference with Medical Accommodation)
                     Md. Ann. Code., State Gov’t, §20-601, et. Seq.

      73.    Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

             as though fully set forth herein.


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      74.    Defendant has discriminated against Plaintiff in the terms and conditions of his

             employment on the basis of age, and disability as well as interfered with Plaintiff’s

             medical accommodations in violation of Title 20, §20-606 of the Maryland State

             Government Article (hereinafter “Title 20”).

      75.    The above acts and practices of the Defendant constitute unlawful discriminatory

             employment practices within the meaning of Title 20.

      76.    The Defendant’s acts were carried out with malice and reckless disregard for

             Plaintiff’s protected civil rights.

      77.    As a direct and proximate result of the Defendant’s discriminatory actions, Plaintiff

             has suffered lost wages and emotional distress, and incurred attorneys’ fees and

             litigation costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

                                      COUNT VII
               TITLE 20 OF THE STATE GOVERNMENT ARTICLE
 (Retaliation based on Age, Disability and Interference with Medical Accommodation)
                     Md. Ann. Code., State Gov’t, §20-601, et. Seq.

      78.    Plaintiff hereby restates and incorporates paragraphs 1 through 23 of this Complaint

             as though fully set forth herein.

      79.    Plaintiff engaged in protected activity when he complained about discrimination and

             harassment based on age, disability and Defendant’s interference with medical

             accommodations.

      80.    In retaliation for Plaintiff’s complaints, Defendant failed to address Plaintiff’s

             continued requests that Defendant cease, address and correct these discriminatory

             acts and practices and Defendant has continued to continue to engage with such acts


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             and practices.

      81.    There is a causal connection between Plaintiff’s complaints and the materially

             adverse actions and disparate treatment taken against Plaintiff by Defendant.

      82.    The retaliation endured by the Plaintiff would dissuade a reasonable employee from

             making complaints of discrimination, harassment and interreference with medical

             accommodations.

      83.    Defendant retaliated against the Plaintiff for engaging in protected activity in

             violation of Md. Ann. Code., State Gov’t, §20-601, et. Seq.

      84.    As a direct and proximate result of the Defendant’s discriminatory actions, Plaintiff

             has suffered lost wages and emotional distress, and incurred attorneys’ fees and

             litigation costs.

WHEREFORE, Plaintiff prays for relief as more fully set forth below.

                                 PRAYER FOR DAMAGES

       WHEREFORE, for the foregoing reasons, German De Patricio, Plaintiff, demands

judgment against Towson University, Defendant, as follows:

       a. Defendant’s adherence to the aforementioned reasonable accommodations;

       b. Clean Personnel file of Plaintiff;

       c. Lost promotional opportunities be instituted with associated back pay;

       d. $300,000.00 as compensatory damages;

       e. Front pay and back pay;

       f. Non-compensatory damages as deemed as appropriate by this honorable Court;

       g. Reimbursement of travel expenses;

       h. Prejudgment and post judgment interest;


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i. Award attorney’s fees and costs, including expert witness fees, as allowed by law;

j. And for such other and further relief as this Honorable Court deems just and

   equitable.



                                     Respectfully submitted,

                                     ___________/s/________________
                                     Paul V. Bennett, Esq. (Bar No. 10324)
                                     Bennett Legal Services, Inc.
                                     5457 Twin Knolls Road, Suite 300
                                     Columbia, Maryland 21045
                                     (410) 353-4994
                                     pbennett@bennettlaw.net

                                     Attorney for Plaintiff




                       DEMAND FOR JURY TRIAL


German De Patricio, Plaintiff, hereby demands that this matter be tried by jury.


                                     ___________/s/__________________
                                     Paul V. Bennett, Esq. (Bar No. 10324)




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